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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
  ----------------------------------------------------------x
  In re:                                                                       PROMESA
                                                                               Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,

          as representative of                                                 No. 17 BK 3283-LTS

  THE COMMONWEALTH OF PUERTO RICO                                              (Jointly Administered)
  et al.,

                             Debtors. 1
  ----------------------------------------------------------x

                  ORDER DENYING THE MOTION OF THE LAWFUL CONSTITUTIONAL
                    DEBT COALITION TO FILE UNDER SEAL CERTAIN PORTIONS
           OF ITS OBJECTION TO THE MOTION OF NATIONAL PUBLIC FINANCE GUARANTEE
         CORPORATION FOR ENTRY OF AN ORDER DIRECTING AN INDEPENDENT INVESTIGATION

                 Before the Court is the Urgent Motion of the Lawful Constitutional Debt
  Coalition to File Under Seal Certain Portions of Its Objection to the Motion of National Public
  Finance Guarantee Corporation for Entry of an Order Directing an Independent Investigation
  (Docket Entry No. 14567 in Case No. 17-3283, 2 the “Urgent Motion”), filed by the Lawful
  Constitutional Debt Coalition (the “LCDC”). Through the Urgent Motion, the LCDC seeks
  leave of Court to file under seal certain portions of its objection (the “Objection”) to the Motion
  of National Public Finance Guarantee Corporation for Entry of an Order Directing an

  1
          The Debtors in these Title III Cases, along with each Debtor’s respective Title III case
          number and the last four (4) digits of each Debtor’s federal tax identification number, as
          applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK-
          3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
          Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four
          Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
          Authority (“HTA”) (Bankruptcy Case No. 17-BK-3567-LTS) (Last Four Digits of
          Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
          Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last
          Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
          (“PREPA”) (Bankruptcy Case No. 17-BK-4780-LTS) (Last Four Digits of Federal Tax
          ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
          No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case
          numbers are listed as Bankruptcy Case numbers due to software limitations).
  2
          All docket entry references herein are to entries in Case No. 17-3283 unless otherwise
          specified.


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  Independent Investigation (Docket Entry No. 14450, the “National Motion”) on the basis that the
  Objection contains material (the “Confidential Material”) that may be considered confidential
  pursuant to this Court’s Order Appointing Mediation Team (Docket Entry No. 430) and Order
  Regarding Mediation Confidentiality Restrictions (Docket Entry No. 8686).

                 On October 14, 2020, the Court granted the Urgent Motion on a temporary basis
  and ordered briefing with respect to

                 (i) whether the Court may review and/or consider the Confidential
                 Material, including the Confidential Exhibit, in connection with its
                 determination of the National Motion and, if so, whether any current
                 restrictions on the Court’s ability to review the Confidential
                 Material are waivable or may otherwise be overridden; and (ii)
                 whether, and, if so, to what extent, the Confidential Material
                 satisfies the requirements of Rule 9018 of the Federal Rules of
                 Bankruptcy Procedure and the orders of this Court governing sealed
                 filings such that it should remain under seal for an unlimited
                 duration or, alternatively, whether the Confidential Material, or any
                 component thereof, must be filed on the public docket.

  (Order Regarding Motion of the Lawful Constitutional Debt Coalition to File Under Seal
  Certain Portions of Its Objection to the Motion of National Public Finance Guarantee
  Corporation for Entry of an Order Directing an Independent Investigation, Docket Entry No.
  14584, the “Temporary Sealing Order.”) 3 On October 24, 2020, the Court denied the Urgent
  Motion in part pending completion of briefing on the Urgent Motion. (See Order Denying in
  Part the Motion of the Lawful Constitutional Debt Coalition to File Under Seal Certain Portions
  of Its Objection to the Motion of National Public Finance Guarantee Corporation for Entry of an
  Order Directing an Independent Investigation, Docket Entry No. 14918.) Specifically, the Court
  denied the Urgent Motion except insofar as it requested that the references to Confidential
  Material in paragraphs 37 and 43 of the Objection (the “Confidential Communication”) be
  maintained under seal. (Id.) On October 26, 2020, the LCDC filed the Reply Regarding Urgent
  Motion of the Lawful Constitutional Debt Coalition to File Under Seal Certain Portions of Its
  Objection to the Motion of National Public Finance Guarantee Corporation for Entry of an
  Order Directing an Independent Investigation (Docket Entry No. 14932, the “Reply”).

                  The Court has considered carefully the Urgent Motion; the responses thereto filed
  by the Mediation Team, the Official Committee of Unsecured Creditors, and National Public
  Finance Guarantee Corporation (“National”) (collectively, the “Respondents”); and the Reply.
  In light of the LCDC’s representations in the Reply that it has “obtained the consent of the other
  mediation participant to the communication to unseal the Confidential Communication” and that
  it “supports unsealing the Confidential Communication,” as well as the lack of objection by the
  Respondents or any other party in interest to the Confidential Communication being made
  publicly available, the Urgent Motion is denied in its entirety. The Clerk of Court is directed to
  unseal Docket Entry No. 14587. National is directed to file, by October 27, 2020, at 3:00 p.m.

  3
         Capitalized terms not defined herein shall have the meanings given to them in the
         Temporary Sealing Order.


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  (Atlantic Standard Time), fully unredacted versions of the Reply Memorandum in Further
  Support of Motion of National Public Finance Guarantee Corporation for Entry of an Order
  Directing an Independent Investigation (Docket Entry Nos. 14672 and 14921) and the
  Supplemental Reply Memorandum in Further Support of Motion of National Public Finance
  Guarantee Corporation for Entry of an Order Directing an Independent Investigation (Docket
  Entry Nos. 14819 and 14922).

                This Order resolves Docket Entry No. 14567.

         SO ORDERED.

  Dated: October 27, 2020

                                                            /s/ Laura Taylor Swain
                                                           LAURA TAYLOR SWAIN
                                                           United States District Judge




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